    Case: 1:19-cv-08095 Document #: 53 Filed: 08/25/22 Page 1 of 9 PageID #:907




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 ––––––––––––––––––––––––––––––––––––––
 SEAFARERS PENSION PLAN,                       )
 derivatively on behalf of THE BOEING          )
 COMPANY,                                      )      DOCKET NO. 1:19-cv-08095
                                               )
                            Plaintiff,         )
                    v.                         )
                                               )
 ROBERT A. BRADWAY, et al.,                    )
                                               )
                            Defendants,        )
                    and                        )
                                               )
 THE BOEING COMPANY,
                                               )
                            Nominal Defendant. )
                                               )
 ––––––––––––––––––––––––––––––––––––––

ORDER PRELIMINARILY APPROVING PROPOSED SETTLEMENT, SCHEDULING
         SETTLEMENT HEARING, AND PROVIDING FOR NOTICE

       WHEREAS, (i) Plaintiff Seafarers Pension Plan (“Plaintiff”), individually and derivatively

on behalf of The Boeing Company (“Boeing” or the “Company”); (ii) individual Defendants

Robert A. Bradway, David L. Calhoun, Arthur D. Collins Jr., Edmund P. Giambastiani Jr., Lynn

J. Good, Lawrence W. Kellner, Caroline B. Kennedy, Edward M. Liddy, Dennis A. Muilenburg,

Susan C. Schwab, Randall L. Stephenson, Ronald A. Williams, and Mike S. Zafirovski (together,

“Federal Individual Defendants”); and (iii) Nominal Defendant The Boeing Company (“Boeing,”

and together with Federal Plaintiff and Federal Individual Defendants, the “Parties”), all by and

through their respective counsel, have entered into a Stipulation and Agreement of Compromise,

Settlement, and Release, dated August 10, 2022 (the “Stipulation”) that provides for the full and

final resolution, discharge, and settlement of all Released Claims as against the Released Parties

in the above-referenced action (the “Federal Action”), subject to the approval of the Court;
    Case: 1:19-cv-08095 Document #: 53 Filed: 08/25/22 Page 2 of 9 PageID #:908




       WHEREAS, the Court has read and considered the Stipulation and the accompanying

documents; and

       WHEREAS, all Parties have consented to the entry of this Preliminary Order (the “Order”);

       NOW IT IS HEREBY ORDERED, ADJUDGED, AND DECREED, this 24th day of

August 2022, as follows:

       1.      This Order (the “Order”) incorporates and makes a part hereof the Stipulation and

all of its terms, conditions, provisions, and exhibits. All terms herein with initial capitalization

that are not defined in this Order shall have the meanings ascribed to them in the Federal

Stipulation.

       2.      The Court has jurisdiction over the Federal Action, and all matters relating to the

proposed Federal Settlement (the “Federal Settlement”), as well as personal jurisdiction over all

of the Parties as it relates to this Federal Action and the Federal Settlement only.

       3.      The Court preliminarily approves the Federal Settlement, subject to further

consideration at the Federal Settlement Hearing described below, and preliminarily finds that the

Federal Settlement is fair, reasonable, adequate, and in the best interests of Boeing and its

stockholders. The Court further finds that the Federal Settlement is the result of arm’s-length

negotiations between experienced counsel fairly and adequately representing the interests of the

respective Parties.

       4.      A video hearing shall be held on December 14, 2022 at 9:45 a.m., (the “Federal

Settlement Hearing”), before the Honorable Harry D. Leinenweber, to join from a

computer: https://meet.uc.uscourts.gov/meeting/971179555?secret=axs_OtIs0SDNZx4qFKoc7g,

meeting ID: 971179555 or to join by phone, dial, 871-353-2301, at which the Court will determine:

(a) whether the terms of the Federal Settlement should be approved as fair, reasonable, and



                                                 -2-
     Case: 1:19-cv-08095 Document #: 53 Filed: 08/25/22 Page 3 of 9 PageID #:909




adequate; (b) whether the form of the Notice and Summary Notice of the Federal Settlement and

means of dissemination of the Notice and Summary Notice of the Federal Settlement fully satisfied

the requirements of Fed. R. Civ. P. 23.1 and due process; (c) consider the entry of Judgment

dismissing the Federal Action with prejudice, and release and enjoin the prosecution of any and

all Released Claims; (d) consider the approval of the Fee and Expense Application and Service

Award; and (e) hear other such matters as the Court may deem necessary and appropriate.

        5.      The Court expressly reserves the right to adjourn the Federal Settlement Hearing or

any adjournment thereof, including without limitation, consideration of any Fee and Expense

Application or Service Award, without any further notice to Boeing stockholders other than an

announcement at the Federal Settlement Hearing or at any adjournment thereof.

        6.      The Court may approve the Federal Settlement at or after the Federal Settlement

Hearing according to the terms and conditions of the Stipulation, as it may be modified by the

Parties, with or without further notice to Boeing stockholders. Further, the Court may render its

judgment, and order the payment of any Fee and Expense Award and Service Award, all without

further notice to Boeing stockholders.

        7.      The Court approves, in form and content, the Notice, attached as Exhibit G to the

Stipulation, and the Summary Notice, attached as Exhibit H to the Stipulation, and finds that the

distribution of the Notice and Summary Notice substantially in the manner and form set forth in

this Order meets the requirements of Fed. R. Civ. P. 23.1, and due process, is the best notice

practicable under the circumstances, and shall constitute due and sufficient notice to all Persons

entitled thereto.

        8.      As soon as practicable after the date of entry of the later of (i) the entering of the

Preliminary Approval Order by this Court and (ii) the entering of the Scheduling Order by the



                                                 -3-
    Case: 1:19-cv-08095 Document #: 53 Filed: 08/25/22 Page 4 of 9 PageID #:910




Delaware Court, and in no event fewer than sixty (60) calendar days before the earlier of (i) the

Federal Settlement Hearing and (ii) the Delaware Settlement Hearing, except for those Boeing

stockholders who are current record holders of Boeing stock and who have elected to receive

information from Boeing electronically and to whom Boeing shall send electronically a copy of

the Notice, substantially in the form of Exhibit G to the Stipulation, Boeing shall mail, or cause to

be mailed, by first class U.S. mail, or other mail service if mailed outside the U.S., a copy of the

Notice, substantially in the form of Exhibit G to the Stipulation, to all Boeing stockholders who

are record holders of Boeing stock at their last known address appearing in the stock transfer

records maintained by or on behalf of Boeing, and all such record holders of Boeing stock shall be

directed to forward such Notice promptly to the beneficial owners of those securities. No later

than thirty (30) calendar days after the later of (i) the entry of the Preliminary Approval Order by

this Court and (ii) the entry of the Scheduling Order by the Delaware Court, Boeing shall publish

the Summary Notice, substantially in the form of Exhibit H to the Stipulation, as a quarter-

page advertisement in the national edition of the Wall Street Journal and over the PR Newswire.

       9.      At least fourteen (14) calendar days prior to the Federal Settlement Hearing,

Boeing’s counsel shall file with the Court an appropriate affidavit or declaration with respect to

the publication of the Summary Notice and mailing or electronic delivery of the Notice.

       10.     Any record or beneficial stockholder of Boeing who objects to the Stipulation, the

Federal Settlement, the Order and Final Judgment to be entered in the Federal Action, the Fee and

Expense Application, or who otherwise wishes to be heard, may appear in person, or by his, her,

their, or its attorney at the Federal Settlement Hearing and present evidence or argument that may

be proper and relevant; provided, however, that, except for good cause shown or as the Court

otherwise directs, no Person shall be heard and no papers, briefs, pleadings, or other documents



                                                 -4-
    Case: 1:19-cv-08095 Document #: 53 Filed: 08/25/22 Page 5 of 9 PageID #:911




submitted by any Person shall be considered by the Court unless not later than twenty (20) calendar

days prior to the Federal Settlement Hearing such Person files with the Clerk of the United States

District Court for the Northern District of Illinois, 219 South Dearborn Street, Chicago, Illinois

60604 and serves upon counsel listed below: (a) a written and signed notice of intention to appear

that states the name of that Person and that Person’s address (or, if represented, the address of the

Person’s counsel); (b) documentation evidencing such Person’s status as a current record or

beneficial stockholder of Boeing; (c) a detailed statement of such Person’s objections to any

matters before the Court; (d) the grounds for such objections and the reasons that such Person

desires to appear and be heard; and (e) all documents or writings such Person desires the Court to

consider. Such filings must be served upon the following counsel by hand delivery, overnight

mail, or the Court’s electronic filing and service system:




                                                 -5-
    Case: 1:19-cv-08095 Document #: 53 Filed: 08/25/22 Page 6 of 9 PageID #:912




  Carol V. Gilden, Esq.                     Sharon L. Nelles
  COHEN MILSTEIN SELLERS &                  David M.J. Rein
  TOLL PLLC                                 Benjamin R. Walker
  190 S. LaSalle Street, Suite 1705         Tasha N. Thompson
  Chicago, Illinois 60603                   SULLIVAN & CROMWELL LLP
  cgilden@cohenmilstein.com                 125 Broad Street
                                            New York, New York 10004
  Richard A. Speirs, Esq.                   Tel.: (212) 558-4000
  Amy Miller, Esq.                          nelless@sullcrom.com
  COHEN MILSTEIN SELLERS &                  reind@sullcrom.com
  TOLL PLLC                                 walkerb@sullcrom.com
  88 Pine Street, 14th Floor                thompsontas@sullcrom.com
  New York, New York 10005
  rspeirs@cohenmilstein.com                 Joshua K. Rabinovitz
  amiller@cohenmilstein.com                 KIRKLAND & ELLIS LLP
                                            300 North LaSalle
  Attorneys for Plaintiff Seafarers         Chicago, Illinois 60654
  Pension Plan                              joshua.rabinovitz@kirkland.com

                                            Attorneys for The Boeing Company, Robert A.
                                            Bradway, David L. Calhoun, Arthur D. Collins
                                            Jr., Admiral Edmund P. Giambastiani Jr., Lynn
                                            J. Good, Lawrence W. Kellner, Caroline B.
                                            Kennedy, Edward M. Liddy, Dennis A.
                                            Muilenburg, Susan C. Schwab, Randall L.
                                            Stephenson, Ronald A. Williams, and Mike S.
                                            Zafirovski

Counsel for the Parties are directed to promptly furnish each other with copies of any and all

objections that might come into their possession.

       11.     Unless the Court otherwise directs, no Person shall be entitled to object to the

approval of the Settlement, any judgment entered thereon, any award of attorneys’ fees and

expenses, or otherwise be heard, except by serving and filing a written objection and supporting

papers and documents as described in Paragraph 10 above. Any Person who fails to object in the

manner described above shall be deemed to have waived the right to object (including, without

limitation, any right of appeal) and shall be forever barred from raising such objection in this or

any other suit, action, or proceeding.


                                                -6-
    Case: 1:19-cv-08095 Document #: 53 Filed: 08/25/22 Page 7 of 9 PageID #:913




       12.     Not later than thirty (30) calendar days prior to the Federal Settlement Hearing,

Plaintiff’s Counsel shall file and serve Plaintiff’s opening brief in support of the Federal Settlement

(the “Supporting Brief”), the Fee and Expense Application, and the Service Award. The Parties’

responses to any Objection by stockholders of Boeing, if any, shall be filed with the Court and

served at least seven (7) calendar days prior to the Federal Settlement Hearing.

       13.     Until otherwise ordered by the Court, the Court stays all proceedings in the Federal

Action other than proceedings necessary to carry out or enforce the terms and conditions of the

Federal Stipulation.

       14.     Pending final determination of whether the Federal Settlement is approved, the

Court bars and enjoins Plaintiff and all other Boeing stockholders from asserting, commencing,

instituting, or prosecuting any of the Released Federal Plaintiff Claims against any of the

Defendants.

       15.     In the event that the Delaware Settlement or the Federal Settlement are terminated

or fail to become Final or effective for any reason, (a) all of the Parties shall be deemed to have

reverted to their respective litigation status immediately prior to the execution of the Stipulation,

and they shall proceed in all respects as if the Stipulation had not been executed, and any related

orders had not been entered, (b) all of their respective claims and defenses as to any issue in the

Federal Action and the Delaware Action shall be preserved without prejudice in any way, (c) the

statements made in connection with the negotiation of the proposed Federal Settlement, and the

Stipulation, shall not be deemed to prejudice in any way the positions of any of the Parties with

respect to the Federal Action and the Delaware Action, or to constitute an admission of fact or of

wrongdoing by any Party, and shall not be used, or entitle any Party, to recover any fees, costs, or

expenses incurred in connection with the Federal Action or the Delaware Action, (d) neither the



                                                 -7-
    Case: 1:19-cv-08095 Document #: 53 Filed: 08/25/22 Page 8 of 9 PageID #:914




existence of the Stipulation, nor its contents, nor any statements made in connection with the

negotiation of the proposed Federal Settlement, nor any other settlement communications, shall be

admissible in evidence or shall be referred to for any purpose in the Federal Action or the Delaware

Action, or in any other suit, action, or proceeding, and (e) the terms of the Federal Settlement shall

not be effective or enforceable, except as expressly provided in the Stipulation.

       16.     Neither the Federal Settlement, the Stipulation, nor the fact of, or any terms and

conditions of, the Federal Settlement or the Stipulation, nor any communications relating thereto,

is evidence, or a presumption, admission, or concession by any Defendant or any other Released

Defendant Party of any fault, liability, wrongdoing, or damages whatsoever, which are expressly

denied and disclaimed by each such party. The Federal Settlement and the Stipulation are not

findings or evidence of the validity or invalidity of any claims or defenses in the Federal Action,

any wrongdoing by any Defendant therein, or any damages or injury to Plaintiff, Boeing, or any

present or former Boeing stockholder. Neither the Federal Settlement, the Stipulation, nor any of

their terms, conditions, and provisions, nor any of the negotiations or proceedings in connection

therewith, nor any of the documents or statements referred to herein or therein, nor the fact of the

Federal Settlement or Stipulation, nor the proceedings related to the Federal Settlement, nor any

statements in connection therewith, shall (a) be argued to be, used or construed as, offered or

received in evidence as, or otherwise constitute an admission, concession, presumption, proof,

evidence, or finding of any liability, fault, wrongdoing, injury, or damages, or of any wrongful

conduct, acts, or omissions on the part of any of the Released Defendant Parties, or of any infirmity

of any defense, or of any damage to Plaintiff, Boeing, or any present or former Boeing stockholder,

(b) otherwise be used to create or give rise to any inference or presumption against any of the

Released Defendant Parties concerning any fact alleged or that could have been alleged, or any



                                                 -8-
    Case: 1:19-cv-08095 Document #: 53 Filed: 08/25/22 Page 9 of 9 PageID #:915




claim asserted or that could have been asserted in the Actions, or of any purported liability, fault,

wrongdoing, acts, or omissions of the Released Defendant Parties or of any injury or damages to

any Person, or (c) be admissible, referred to, interpreted, construed, deemed, invoked, offered, or

received in evidence or otherwise used by any Person in the Federal Action or the Delaware

Action, or in any other suit, action, or proceeding whatsoever, whether civil or administrative;

provided, however, that the Stipulation and/or the Federal Order and Final Judgment and/or the

Fee and Expense Order may be introduced in any suit, action, or proceeding, in the Federal Court,

the Delaware Court or otherwise, as may be necessary to argue that the Stipulation and/or the

Federal Order and Final Judgment and/or the Fee and Expense Order have res judicata, collateral

estoppel, or other issue or claim preclusive effect, to otherwise consummate or enforce the

Stipulation, the Federal Settlement, and/or the Federal Order and Final Judgment, including,

without limitation, to secure any insurance rights or proceeds, or as otherwise required by law.

       17.     The Court retains jurisdiction to consider all further applications arising out of or

connected with the Federal Settlement.

IT IS SO ORDERED.



DATED: August 25, 2022                   __________________________________________
                                             THE HONORABLE HARRY D. LEINENWEBER
                                             UNITED STATES DISTRICT JUDGE




                                                 -9-
